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                              United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

  UNITED STATES OF AMERICA                        §
                                                  §   Case Number: 4:13-CR-0281-21
  v.                                              §   Judge Mazzant
                                                  §
  EVERADO SANCHEZ                                 §

                              MEMORANDUM OPINION & ORDER

          Pending    before   the   Court   are   Defendant   Everado    Sanchez’s   Motion   for

   Compassionate Release (“Sanchez Motion”) (Dkt. #1871) and the Sanchez Family Motion for

   Compassionate Release/Reduction in Sentence for Everado Sanchez (“Family Motion”) (Dkt.

   #1870). The two motions are virtually identical. The Court, having considered the motions, the

   response, the record, and the applicable law, finds that the motion must be DENIED.

                                            BACKGROUND

          On September 2, 2015 Defendant Everado Sanchez (“Sanchez”) pleaded guilty to

   Conspiracy to Possess with Intent to Manufacture and Distribute Methamphetamine, in

   violation of 21 U.S.C. § 846. The Court sentenced Sanchez to 210 months’ imprisonment.

   Sanchez is serving his sentence at FCI Oakdale II.         See https://www.bop.gov/inmateloc/

   (Register Number: 22159-078). The Bureau of Prisons (“BOP”) projects he will be released on

   December 20, 2028. Id.

          Sanchez and his family seek compassionate release based on the ongoing

   COVID-19 pandemic and the unreasonableness of his sentence (Dkts. #1870, 1871).            The

   Government opposes the sentence reduction, arguing Sanchez has not demonstrated

   “extraordinary and compelling reasons” and a sentence reduction is unwarranted based on the §

   3553(a) factors (Dkt. #1874).
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                                                   LEGAL STANDARD

            A judgment of conviction imposing a sentence of imprisonment “constitutes a final

   judgment and may not be modified by a district court except in limited circumstances.” Dillon v.

   United States, 560 U.S. 817, 824 (2010) (quoting 18 U.S.C. § 3582(b)); see also 18 U.S.C.

   § 3582(c). One such circumstance arises from 18 U.S.C. § 3582(c)(1)(A), the statute authorizing

   compassionate release. Under § 3582(c)(1)(A), a district court may grant a sentence reduction if

   it finds: (1) a defendant “fully exhausted all administrative rights”; (2) “extraordinary and

   compelling reasons warrant such a reduction”; (3) “such a reduction is consistent with applicable

   policy statements issued by the Sentencing Commission”; and (4) such a reduction is appropriate

   “after considering the factors set forth in § 3553(a) to the extent that they are applicable.” 18 U.S.C.

   § 3582(c)(1)(A).

            The First Step Act of 2018 made the first major changes to compassionate release since its

   authorization in 1984. Pub. L. 115-391, 132 Stat. 5194. Procedurally, the First Step Act removed

   the Director of the BOP as the sole arbiter of compassionate release. Instead, the law enabled a

   defendant to move for compassionate release directly in district court after exhausting their

   administrative rights. 18 U.S.C. § 3582(c)(1)(A). Prior to this change, the BOP retained sole

   gatekeeping authority over compassionate release petitions. United States v. Brooker, 976 F.3d

   228, 232 (2d Cir. 2020). This resulted in underuse and mismanagement. 1 Id. Through the First

   Step Act, Congress sought to mitigate this by “increasing the use and transparency of

   compassionate release” Pub. L. 115-391, 132 Stat. 5194, 5239 (capitalization omitted).


   1
     In 2013, a report from the Office of the Inspector General revealed that the BOP granted compassionate release to
   only an average of 24 incarcerated people per year. See U.S. Dep’t of Just. Office of the Inspector General, The Federal
   Bureau of Prisons’ Compassionate Release Program 1 (2013), https://www.oversight.gov/sites/default/files/oig-
   reports/e1306.pdf (last visited April 14, 2020). And of the 208 people whose release requests were approved by both
   a warden and a BOP Regional Director, 13% died awaiting a final decision by the BOP Director. Id.; see also
   Extraordinary and Compelling: A Re-Examination of the Justifications for Compassionate Release, 68 MD. L. REV.
   850, 868 (2009) (noting that, in the 1990s, 0.01 percent of inmates annually were granted compassionate release).

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            Substantively, the First Step Act also modified the “extraordinary and compelling reasons”

   determination. Congress never defined what constitutes “extraordinary and compelling,” but

   rather delegated this determination to the Sentencing Commission. 2                               By the text of

   § 3582(c)(1)(A), any sentence reduction must be “consistent with applicable policy statements

   issued by the Sentencing Commission.” However, since passage of the First Step Act, the

   Sentencing Commission has not updated its guidelines on compassionate release. 3 This has

   created significant disagreement across the country whether the pre-First Step Act policy statement

   is still “applicable,” and thus binding on district courts.

            The Fifth Circuit recently joined the Second, Fourth, Sixth, Seventh, and Tenth Circuits in

   concluding that § 1B1.13 is no longer binding on a district court. See United States v. Shkambi,

   2021 WL 1291609, at *4 (5th Cir. 2021) (“The district court on remand is bound only by

   § 3582(c)(1)(A)(i) and, as always, the sentencing factors in § 3553(a). In reaching this conclusion,

   we align with every circuit court to have addressed the issue.”). Under this new framework,

   § 1B1.13 still binds district courts on motions made by the BOP, but, for motions made directly

   by an inmate, district courts are free to consider any relevant fact in determining if “extraordinary

   and compelling reasons” exist. See Brooker, 976 F.3d at 235–36 (because the First Step Act allows

   both inmates and the BOP to file compassionate-release motions under § 3582(c)(1)(A), § 1B1.13

   now applies only when such motions are made by the BOP and is inapplicable when a

   compassionate-release motion is made by a defendant); United States v. McCoy, 981 F.3d 271,

   282 (4th Cir. 2020) (“A sentence reduction brought about by motion of a defendant, rather than


   2
     In 28 U.S.C. § 994(a)(2), Congress granted the Commission broad authority to promulgate “general policy statements
   regarding application of the guidelines or any other aspect of sentencing or sentence implementation that in the view
   of the Commission would further the purposes set forth in [18 U.S.C. § 3553(a)(2)].” And in 28 U.S.C. § 994(t),
   “Congress instructed the Commission to ‘describe what should be considered extraordinary and compelling reasons
   for sentence reduction, including the criteria to be applied and a list of specific examples.’” United States v. Garcia,
   655 F.3d 426, 435 (5th Cir. 2011) (quoting 28 U.S.C. § 994(t)).
   3
     The Sentencing Commission currently lacks a quorum to issue new guidelines.

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   the BOP, is not a reduction ‘under this policy statement.’”); United States v. Gunn, 980 F.3d 1178,

   1180 (7th Cir. 2020) (agreeing with Brooker and holding that there is no “applicable” policy

   statement for § 3582(c)(1)(A) motions after the First Step Act); United States v. Jones, 980 F.3d

   1098, 1109 (6th Cir. 2020) (“Until the Sentencing Commission updates § 1B1.13 to reflect the

   First Step Act, district courts have full discretion in the interim to determine whether an

   ‘extraordinary and compelling’ reason justifies compassionate release”).

          Despite this newfound discretion, district courts are not without guidance in determining

   whether “extraordinary and compelling reasons” exist. First, Congress has explicitly limited that

   “[r]ehabilitation of the defendant alone shall not be considered an extraordinary and compelling

   reason.” 28 U.S.C. § 994(t) (emphasis added). Second, the Sentencing Commission’s policy

   statement and commentary is still persuasive. United States v. Logan, No. 97-CR-0099(3), 2021

   WL 1221481 (D. Minn., Apr. 1, 2021) (finding that § 1B1.13’s definition of “extraordinary and

   compelling” should be afforded “substantial deference . . . as such deference is consistent with the

   intent (even if not mandated by the letter) of § 3582(c)(1)(A)”). Application Note 1 of the policy

   statement provides that “extraordinary and compelling reasons” exist when: (1) a terminal illness

   or other medical condition “substantially diminishes the ability of the defendant to provide self-

   care within the environment of a correctional facility”; (2) a defendant, who is at least 65 years

   old, “is experiencing a serious deterioration in physical or mental health because of the aging

   process” and “has served at least 10 years or 75 percent of his or her term of imprisonment”; and

   (3) a defendant has minor children without a caregiver or with an incapacitated spouse or partner

   who needs the defendant to be the caregiver. U.S.S.G. § 1B1.13, n.1(A)-(C). Lastly, BOP Program

   Statement 5050.50 (“PS 5050.50”), amended after passage of the First Step Act, describes the

   factors BOP considers grounds for compassionate release. See PS 5050.50 ¶¶ 3–6. These grounds



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   are similar to the reasons identified by the Sentencing Commission, but also include a list of factors

   like rehabilitation and circumstances of the offense. 4 Id.

            Building from this guidance, district courts across the country have identified additional

   situations where “extraordinary and compelling reasons” exist. First, while rehabilitation alone is

   not an “extraordinary and compelling” reason for a sentence reduction, it can be a significant factor

   warranting a sentence reduction when an inmate has an otherwise qualifying condition. 5 See

   United States v. Rodriguez, 451 F.Supp.3d 392, 405 (E.D. Pa. 2020) (noting that the Sentencing

   Commission itself interpreted § 3582(c)(1)(A) as allowing consideration of an inmate’s

   rehabilitation). If an inmate demonstrates a long, comprehensive record of rehabilitation, it goes

   to whether injustice would result if they remain incarcerated. See Brooker, 976 F.3d at 238

   (identifying “the injustice of [a] lengthy sentence” as a factor that may weigh in favor of a sentence

   reduction). Second, courts consider any changes in law and the sentencing guidelines when

   determining if a sentence is extraordinary. For example, courts grant compassionate release at a

   remarkable rate for inmates subject to the now abolished § 924(c) sentence-stacking. See McCoy,

   981 F.3d at 285 (“As the court observed in Bryant, multiple district courts have concluded that the

   severity of a § 924(c) sentence, combined with the enormous disparity between that sentence and

   the sentence a defendant would receive today, can constitute an “extraordinary and compelling”

   reason for relief under § 3582(c)(1)(A)”). Though Congress did not retroactively eliminate

   § 924(c) sentence-stacking, courts consider whether the outdated policy warrants relief on a



   4
     PS 5050.50’s nonexclusive factors are: “the defendant’s criminal and personal history, nature of his offense,
   disciplinary infractions, length of sentence and amount of time served, current age and age at the time of offense and
   sentencing, release plans, and ‘[w]hether release would minimize the severity of the offense.’” United States v.
   Saldana, 807 F. App’x 816, 819 (10th Cir. 2020) (quoting PS 5050.50 ¶ 7).
   5
     18 U.S.C. § 3142(g) aids the Court in determining whether a defendant is a danger to the community. Applicable
   factors include: “the nature and circumstances of the offense,” “the person’s character, physical and mental condition,
   family ties, employment, . . . criminal history,” and “the nature and seriousness of the danger to any person or the
   community that would be posed by the person's release.” 18 U.S.C. § 3142(g).

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   case-by-case basis. 6

            Even if extraordinary and compelling reasons exist, they must outweigh the 18 U.S.C.

   § 3553(a) factors to warrant sentence reduction. See 18 U.S.C. § 3582(c)(1)(A). These factors are:

            (1) the nature and circumstances of the offense and the history and characteristics
                of the defendant;

            (2) the need for the sentence imposed—

                     (A) to reflect the seriousness of the offense, to promote respect for the law,
                         and to provide just punishment for the offense;

                     (B) to afford adequate deterrence to criminal conduct;

                     (C) to protect the public from further crimes of the defendant; and

                     (D) to provide the defendant with needed educational or vocational training,
                     medical care, or other correctional treatment in the most effective manner;

            (3) the kinds of sentences available;

            (4) the kinds of sentence and sentencing range [provided for in the U.S.S.G.] . . .

            (5) any pertinent [Sentencing Commission] policy statement . . .

            (6) the need to avoid unwarranted sentence disparities among defendants with
                similar records who have been found guilty of similar conduct; and

            (7) the need to provide restitution to any victims of the offense.

   Id. § 3553(a).

                                                     DISCUSSION

            Sanchez and his family move for compassionate release based on health concerns related

   to the COVID-19 pandemic and the unreasonableness of his sentence. The Government argues

   Sanchez’s conditions are not severe enough to qualify for compassionate release.



   6
     See Shon Hopwood, Second Looks & Second Chances, 41 CARDOZO L. REV. 83, 123–24 (2019) (arguing Congress
   did not make § 924(c) sentence stacking retroactive because it did not want to make all inmates “categorically” eligible
   for sentencing relief, but Congress meant for relief from draconian sentences to apply “individually”).

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            Although Sanchez has met § 3582(c)(1)(A)’s exhaustion requirement, he has not met the

   statute’s requirement that “extraordinary and compelling reasons” exist warranting a reduction of

   his sentence. The Sanchez Motion and Family Motion, therefore, must be denied.

   A. Sanchez Has Met Section 3582(c)(1)(A)’s Exhaustion Requirement.

            Sanchez’s compassionate release motion may only be considered if he first meets

   § 3582(c)(1)(A)’s exhaustion requirement.                Courts may not consider a modification to a

   defendant’s sentence under § 3582(c)(1)(A)(i) unless a motion for such a modification is properly

   made by the Director of the BOP or by a defendant who has fully exhausted their administrative

   remedies. 18 U.S.C. § 3582(c)(1)(A). Fully exhausting administrative remedies requires a denial

   by the warden of a defendant’s facility or waiting thirty days without receiving a response to a

   request, whichever is earlier. 7 Id.

            Section 3582(c)(1)(A)’s exhaustion requirement is not waivable. See United States v.

   Rivas, 833 F. App’x 556, 558 (5th Cir. 2020) (“Because the statutory language is mandatory—that

   a prisoner must exhaust their BOP remedy before filing in district court—we must enforce this

   procedural rule . . .”); United States v. Reeves, No. 18-00294, 2020 WL 1816496, at *2 (W.D. La.

   Apr. 9, 2020) (“While the Court is well aware of the effects the Covid-19

   pandemic . . . § 3582(c)(1)(A) does not provide this Court with the equitable authority to excuse

   Reeves’ failure to exhaust his administrative remedies or to waive the 30-day waiting period.”). If

   a defendant has not sought relief from the BOP, or has not waited thirty days since seeking relief,

   the Court may not consider their motion.

            On February 16, 2021, Sanchez asked the warden at FCI Oakdale II to grant him


   7
     BOP regulations define “warden” to include “the chief executive officer of . . . any federal penal or correctional
   institution or facility.” 28 C.F.R. § 500.1(a); United States v. Franco, 973 F.3d 465, 468 (5th Cir. 2020); c.f. United
   States v. Campagna, 16 Cr. 78-01 (LGS), 2020 WL 1489829, at *3 (S.D.N.Y. Mar. 27, 2020) (holding that “the denial
   of Defendant’s request by the Residential Re-entry Manager suffices to exhaust his administrative rights”).

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   compassionate release (Dkt. #1871, Exhibit 1). More than thirty days have passed without

   receiving a response to his request. Sanchez has, therefore, met § 3582(c)(1)(A)’s exhaustion

   requirement.

   B. Sanchez Has Not Met Section 3582(c)(1)(A)’s Requirement that “Extraordinary and
      Compelling Reasons” Warrant a Sentence Reduction.

          Sanchez’s compassionate release motion turns on his assertion that the health risks

   associated with COVID-19, coupled with the unreasonableness of his sentence, constitute

   extraordinary and compelling reasons to reduce his sentence. Sanchez’s assertion fails because

   his conditions are not severe enough to constitute “extraordinary and compelling reasons” under §

   3582(c)(1)(A)(i).

          The Court has discretion to decide whether Sanchez’s conditions present “extraordinary

   and compelling reasons” warranting a sentence reduction. See Shkambi, 2021 WL 1291609, at *4.

   The Court is not bound by the Sentencing Commission’s policy statement and may consider any

   relevant facts in evaluating Sanchez’s condition of incarceration. Id. Typically, courts consider

   whether a defendant suffers from a serious health condition, has a record of rehabilitation, the

   nature and circumstances of defendant’s offense, and whether a sentence is based on outdated law.

   See Brooker, 976 F.3d at 238.

          Rehabilitation alone cannot support a claim for sentence reduction, but may be considered

   as a factor in evaluating “extraordinary and compelling reasons.” Id. at 237–38; United States v.

   Hudec, No. 4:91-1-1, 2020 WL 4925675, at *5 (S.D. Tex. Aug. 20, 2020). Here, Sanchez has not

   been disciplined while in BOP Custody and received an approximately 32-month credit for good

   conduct (Dkt. #1874). Sanchez claims he has significant family support and friends willing to

   assist him following his release (Dkt. #1871). However, Sanchez is an illegal alien and subject to

   deportation upon his release from prison (Dkt. #1422). Furthermore, Sanchez fails to demonstrate


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   why a 210-month sentence, 125 months of which have been served, is unreasonable given his

   conviction for a serious drug offense.

           When considering if a defendant’s health condition supports compassionate release, the

   mere existence of COVID-19 in society cannot independently justify a sentence reduction. Se e

   United States v. Miller, No. 2:17-CR-015-D, 2020 WL 2514887, *2 (N.D. Tex. May 15, 2020)

   (citing United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020)). For a defendant to be granted

   compassionate release based on COVID-19, defendant must have a serious comorbidity and

   evidence the facility is not effectively controlling the spread of the virus. See United States v.

   Vasquez, No. CR 2:18-1282-S-1, 2020 WL 3000709, at *3 (S.D. Tex. June 2, 2020) (“General

   concerns about the spread of COVID-19 or the mere fear of contracting an illness in prison are

   insufficient grounds to establish the extraordinary and compelling reasons necessary to reduce a

   sentence.”).

           In the instant case, Sanchez fails to show any health conditions that warrant compassionate

   release. Sanchez is not subject to a terminal illness and his health appears stable. Sanchez has not

   indicated that he has any physical restrictions. Sanchez presents few health problems, mainly

   related to his vision, none of which the CDC recognize as factors for COVID-19. His age of 57

   also does not support compassionate release.

           Absent COVID-19, Sanchez would present no basis for compassionate release because his

   medical ailments are appropriately managed and do not impede his ability to provide self-care in

   the institution. Further FCI Oakdale II reports one active case among inmates and only eight active

   cases    among      staff.       FEDERAL       BUREAU     OF    PRISONS,      COVID-19       Cases,

   https://www.bop.gov/coronavirus/ (last visited September 27, 2021). Sanchez fails to present

   evidence demonstrating a serious risk to his health. Sanchez’s records also indicate he received



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 both doses of the Pfizer vaccine for COVID-19 in April and May of 2021 (Dkt. #1874 Exhibit A

 at p. 31). See United States v. Smith, 2021 WL 364636, at *2 (E.D. Mich. Feb. 3, 2021)

 (“absent some shift in the scientific consensus, Defendant’s vaccination against COVID-

 19 precludes the argument that his susceptibility to the disease is ‘extraordinary and

 compelling’ for purposes of § 3582(c)(1)(A)”); United States v. Grummer, 2021 WL

 568782, at *2 (S.D. Cal. Feb. 16, 2021) (denying compassionate release to defendant with

 several chronic medical conditions when defendant had been fully vaccinated); United

 States v. Wakefield, 2021 WL 640690, at *3 (W.D.N.C. Feb. 18, 2021) (finding defendant

 who presented obesity, diabetes, and hypertension, had previously tested positive, but had

 received the first dose could not meet his burden of establishing that his COVID-19 risk

 was an “extraordinary and compelling reason”).

         Weighing the evidence, Sanchez fails to prove that his incarceration is “extraordinary and

 compelling” under § 3582(c)(1)(A)(i) framework. See United States v. Stowe, No. CR H-11-

 803(2), 2019 WL 4673725, at *2 (S.D. Tex. Sept. 25, 2019) (citation omitted) (stating that the

 defendant generally “has the burden to show circumstances meeting the test for compassionate

 release”). 8

                                                 *        *        *

         Under the rule of finality, federal courts may not “modify a term of imprisonment once it

 has been imposed” unless one of a few “narrow exceptions” applies. Freeman v. United States,

 564 U.S. 522, 526 (2011) (citing 18 U.S.C. § 3582(c)) (plurality op.); see also Dillon, 560 U.S. at

 819 (same). Compassionate release is one of those exceptions, but a defendant must conform both


 8
  Given Defendant’s failure to meet § 3582(c)(1)(A)’s requirements, the Court need not address whether the applicable
 18 U.S.C. § 3553(a) factors support a sentence reduction.

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     to the procedural and substantive requirements of § 3582(c)(1)(A) for a court to modify a sentence.

     Because Sanchez has failed to meet the controlling requirements for compassionate release set

     forth in § 3582(c)(1)(A)(i), the Sanchez and Family Motions must be denied.9

                                                     CONCLUSION

.             It is therefore ORDERED that Defendant’s Motion for Compassionate Release

     (Dkt. #1871) and e Sanchez Family Motion for Compassionate Release/Reduction in Sentence for

     Everado Sanchez (Dkt. #1870) are DENIED.

              IT IS SO ORDERED.
             SIGNED this 29th day of September, 2021.




                                                  ___________________________________
                                                  AMOS L. MAZZANT
                                                  UNITED STATES DISTRICT JUDGE




     9
       In the alternative, the Court is also unable to order home confinement. The BOP has exclusive authority to determine
     where a prisoner is housed; thus, the Court is without authority to order home confinement. 18 U.S.C. § 3621(b); see
     also United States v. Miller, No. 2:17-CR-015-D (02), 2020 WL 2514887, at *1 (N.D. Tex. May 15, 2020) (“[N]either
     the CARES Act nor the First Step Act authorizes the court to release an inmate to home confinement.”).

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